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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 22-80160-CIV-MARRA

 MATTHEW KLEIN and THE HEALTH
 SPECTRUM, LLC,

        Plaintiff,
 vs.

 DIAN OVED and OVED MEDIA INTERNATIONAL
 INC., d/b/a EMPOWER DIGITAL,

       Defendants.
 _____________________________________/

  ORDER REQUIRING COUNSEL TO CONFER, FILE JOINT SCHEDULING REPORT
                  AND FILE JOINT DISCOVERY REPORT

        THIS ORDER has been entered upon the filing of the complaint. Plaintiff=s counsel is

 hereby ORDERED to forward to all defendants, upon receipt of either an answer or a motion

 pursuant to Fed. R. Civ. P. 12(b), a copy of this order.

        It is further ORDERED:

        1. Pursuant to Rule 4(m) of the Federal Rules of Civil Procedure, defendants must be

 served within 90 days after the complaint is filed.

        2. Every motion when filed shall be accompanied by a proposed order, except for

 motions to dismiss and motions for summary judgment. Courtesy copies of proposed orders

 should be sent to marra@flsd.uscourts.gov in Word format. The case number along with the

 words, "proposed order," should be in the subject heading.

        3. Pretrial discovery in this case shall be conducted in accord with Local Rules 16.1 and

 26.1, and the Federal Rules of Civil Procedure.

        4. Pursuant to Rule 26(f) of the Federal Rules of Civil Procedure, unless this action is



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 excluded under Rule 26(a)(B), the parties must confer at least twenty-one (21) days before the

 earlier of 90 days after any defendant has been served with the complaint or 60 days after any

 defendant has appeared, to consider the nature and basis of their claims and defenses and the

 possibilities for a prompt settlement or resolution of the case; to make or arrange for the

 disclosures required by Rule 26(a)(1); to develop a proposed discovery plan that indicates the

 parties= views and proposals concerning the matters listed in Rule 26(f); and to discuss a joint

 proposed scheduling order.

        5. The parties are jointly responsible for submitting a written report of this conference

 outlining the proposed discovery plan and joint proposed scheduling order within 14 days after

 the conference. This report shall address all items set forth in Local Rule 16.1(a)-(b) and shall

 indicate the proposed month and year for the trial plus the estimated number of trial days

 required, as well as an indication of whether the trial is to be a Jury trial or Bench trial.

        6. Failure of counsel or unrepresented parties to file a discovery plan report or joint

 scheduling report may result in dismissal, default, and the imposition of other sanctions

 including attorney=s fees and costs.

        DONE AND SIGNED in Chambers at West Palm Beach, Palm Beach County, Florida,

 this 2nd day of February, 2022.




                                                               KENNETH A. MARRA
                                                               United States District Judge




 Copies furnished to:

 All counsel

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